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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 DARYL ELLSWORTH,

             Petitioner,

 v.                                                 Civil Action No. 5:05CV42
                                                                      (STAMP)
 UNITED STATES OF AMERICA,

             Respondent.


                      MEMORANDUM OPINION AND ORDER
                    AFFIRMING AND ADOPTING REPORT AND
                   RECOMMENDATION OF MAGISTRATE JUDGE
                     AND ORDER DENYING LETTER MOTION

                           I.   Procedural History

       On March 29, 2005, pro se petitioner Daryl Ellsworth filed a

 motion under 28 U.S.C. § 2255 to vacate, set aside or correct a

 sentence by a person in federal custody.            Thereafter, on November

 22, 2006, the petitioner filed a letter motion requesting that the

 Court order that his presentence report be amended to indicate that

 he has a history of alcohol abuse in order to increase his chances

 of being placed in the 500 hour drug program.

       Petitioner’s § 2255 application was referred to United States

 Magistrate Judge James E. Seibert for initial review and report and

 recommendation     pursuant    to   Local   Rule    of   Prisoner   Litigation

 Procedure 83.15.     On July 5, 2007, Magistrate Judge Seibert issued

 a report recommending that the petitioner’s § 2255 application be

 denied because in his plea agreement the petitioner knowingly,

 intelligently, and voluntarily waived the right to collaterally
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 attack his conviction.                The report and recommendation did not

 address petitioner’s letter motion.                   The magistrate judge informed

 the parties that if they objected to any portion of the report,

 they must file written objections within ten days after being

 served with copies of this report. The time for objections has now

 passed and no objections have been filed to date.1

                                II.    Standard of Review

          Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

 a   de       novo   review    of   any      portion    of   the   magistrate   judge’s

 recommendation to which objection is timely made.                        As to those

 portions of a recommendation to which no objection is made, a

 magistrate judge’s findings and recommendation will be upheld

 unless they are “clearly erroneous.”                   See Orpiano v. Johnson, 687

 F.2d 44, 47 (4th Cir. 1982); Webb v. Califano, 468 F. Supp. 825

 (E.D. Cal. 1979).            Because the petitioner did not file objections,

 this Court reviews the report and recommendation for clear error.

                                      III.    Discussion

          The petitioner contends in his § 2255 petition that his

 sentence was unfairly calculated because prior misdemeanor charges

 were used to enhance the sentence in violation of his Fifth and


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       On July 26, 2007, the report and recommendation mailed to the
 petitioner by the Clerk was returned as undeliverable. In the
 Notice of General Guidelines for Appearing Pro Se in Federal Court,
 provided to the petitioner on March 29, 2005, the petitioner was
 advised that he must keep the Court and opposing counsel advised of
 his most current address at all times and that failure to do so may
 result in the action being dismissed without prejudice.

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 Sixth Amendment rights.       Based on a review of the record and the

 applicable law, Magistrate Judge Seibert recommended that the

 petitioner’s § 2255 application be denied because the petitioner

 knowingly, intelligently, and voluntarily waived the right to

 collaterally attack his conviction when he pled guilty to Count Two

 of an indictment charging him with distribution of crack within

 1,000 feet of a public housing facility.                Specifically, the

 petitioner signed a plea agreement on August 20, 2004 which stated

 that he “waives his right to challenge his sentence or the manner

 in which it was determined in any collateral attack, including but

 not limited to, a motion brought under Title 28, United States

 Code, Section 2255 (habeas corpus), where the sentence is based

 upon a level 25 or less.”2       As noted by the magistrate judge, the

 petitioner was in fact sentenced at an offense level of 25.

       Because    the    petitioner     knowingly,     intelligently,     and

 voluntarily waived the right to collaterally attack his conviction,

 the petitioner’s application for habeas corpus pursuant to § 2255

 must be denied.

       Additionally, although the report and recommendation did not

 address the petitioner’s letter motion, this Court has reviewed

 that motion and finds that it must be denied.           The petitioner did

 not object to the portion of the presentence report detailing his



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       The plea agreement was accepted and filed by this Court on
 September 16, 2004.

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 history of substance abuse pursuant to Federal Rule of Criminal

 Procedure 32 following disclosure of the report.             A defendant has

 an “affirmative duty to make a showing that the information in the

 presentence report is unreliable, and articulate the reasons why

 the facts contained therein are untrue or inaccurate.”                  United

 States v. Terry, 916 F.2d 157, 162 (4th Cir. 1990).              Without such

 affirmative showing, the Court is “free to adopt the findings of

 the   [presentence       report]     without   more   specific     inquiry   or

 explanation.”     Id. (citing United States v. Mueller, 902 F.2d 336,

 346 (5th Cir. 1990)). This Court declines to amend the presentence

 report in this case because the petitioner did not previously

 object to the substance abuse portion of the presentence report.

 Additionally, an amendment to the presentence report would not

 necessarily afford the petitioner the relief that he seeks because

 determinations regarding eligibility for the 500 hour drug program

 are solely within the discretion of the Bureau of Prisons.

                                 V.    Conclusion

       This Court finds that the magistrate judge’s recommendation is

 not clearly erroneous and hereby AFFIRMS and ADOPTS the report and

 recommendation      of    the   magistrate      judge   in   its     entirety.

 Accordingly, petitioner’s motion to vacate, set aside, or correct

 his sentence pursuant to 28 U.S.C. § 2255 is DENIED. Additionally,

 the petitioner’s letter motion is also DENIED.                It is further




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 ORDERED that this civil action be DISMISSED and STRICKEN from the

 active docket of this Court.

       Under Wright v. Collins, 766 F.2d 841, 845 (4th Cir. 1985),

 the petitioner’s failure to object to the magistrate judge’s

 proposed findings and recommendation bars the petitioner from

 appealing the judgment of this Court.

       IT IS SO ORDERED.

       The Clerk is DIRECTED to transmit a copy of this memorandum

 opinion and order to the pro se petitioner and to counsel of record

 herein.    Pursuant to Federal Rule of Civil Procedure 58, the Clerk

 is DIRECTED to enter judgment on this matter.

       DATED:      November 7, 2007



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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